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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                        )
                                                 )
             Plaintiff,                          )
                                                 )
       vs.                                       )      Case No. 10 CR 673-6
                                                 )
CHRISTOPHER HUNTER,                              )
                                                 )
              Defendants.                        )


                          MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       A grand jury indicted Christopher Hunter and fourteen other co-defendants for

offenses relating to their alleged participation in a drug trafficking conspiracy. During

the investigation that preceded Hunter’s indictment, government agents intercepted and

monitored telephone conversations involving the defendants pursuant to orders issued

by Chief Judge Holderman under Title III of the Omnibus Crime Control and Safe

Streets Act of 1968, 18 U.S.C. § 2518. Hunter has moved to suppress all of the

evidence the government obtained from wiretaps on four telephones allegedly used by

the defendants. For the reasons stated below, the Court denies Hunter’s motion.

                                       Background

       In approximately August 2009, the Chicago Police Department and the Drug

Enforcement Agency opened an investigation into the suspected drug trafficking

activities of the New Breeds street gang on the west side of Chicago, Illinois. During

the course of the investigation, the government identified several members of the New
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Breeds, including their leader, Dana Bostic, as well as the organization’s drug suppliers

and wholesale customers. In early 2010, after using physical surveillance, undertaking

controlled drug buys, and exploiting leads provided by confidential informants and

cooperating witnesses, the government began submitting applications and affidavits for

authorization to intercept wire communications on telephone lines used by the alleged

participants in the drug ring.

       On February 3, 2010, Chief Judge Holderman signed an order authorizing a

wiretap for thirty days on a telephone that the government suspected was used by

defendant Brandon Richards (Target Phone 1). On March 5, 2010, Chief Judge

Holderman signed an order authorizing the continued wiretapping of Target Phone 1 for

an additional thirty days. On March 16, 2010, Chief Judge Holderman signed an order

authorizing a thirty-day wiretap on a different telephone that the government suspected

Bostic was using (Target Phone 2). On March 30, 2010, Chief Judge Holderman

signed an order authorizing a thirty-day wiretap on another telephone allegedly used by

Richards (Target Phone 3). On April 15, 2010, Chief Judge Holderman signed an order

authorizing a thirty-day wiretap on yet another telephone purportedly used by Bostic

(Target Phone 4). Finally, on April 28, 2010 and May 14, 2010, Chief Judge Holderman

signed orders authorizing thirty-day extensions of the wiretaps on Target Phone 3 and

Target Phone 4, respectively. The government also requested and obtained orders

authorizing wiretaps on three other telephones, but Hunter was not intercepted on these

wiretaps and does not seek to suppress their contents in this motion.

       Ultimately, the government’s investigation resulted in the arrest of the defendants

and the seizure of roughly eight kilograms of heroin, approximately $350,000 in U.S.

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currency, and an unspecified number of firearms. On August 11, 2010, the government

filed a criminal complaint charging Hunter, Bostic, Richards, and a number of other co-

defendants with conspiracy to knowingly and intentionally possess heroin in violation of

21 U.S.C. § 846. A grand jury later indicted Parker and his co-defendants for narcotics

conspiracy and other narcotics-related offenses. Hunter filed the present motion to

suppress the fruits of the wiretaps on Target Phones 1-4 on March 17, 2011.

                                        Discussion

     Title III bars the government from intercepting wire and electronic communications

except with court authorization in accordance with the requirements of the statute. 18

U.S.C. § 2511. The government must present a sworn, written application to the court

containing a “full and complete statement of the facts and circumstances relied upon by

the applicant” in seeking a wiretapping order. Id. § 2518(1)(b). Additionally, the

government must provide “a full and complete statement as to whether or not other

investigative procedures have been tried and failed or why they reasonably appear to

be unlikely to succeed if tried or to be too dangerous.” Id. § 2518(1)(c). The application

must also contain “a full and complete statement of the facts concerning all previous

applications” for wiretaps involving the persons, facilities, or places described in the

application. Id. § 2518(1)(e).

     Before authorizing a wiretap, the judge must determine that (1) there is probable

cause to believe that a person is committing, has committed, or is about to commit an

offense listed in 18 U.S.C. § 2516; (2) there is probable cause to believe that

communications concerning that offense will be obtained through such interception; (3)

normal investigative procedures have been tried and have failed or reasonably appear

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unlikely to succeed or are too dangerous to try; and (4) there is probable cause to

believe that the facilities from which the communications will be intercepted are either

being used or are about to be used in connection with the offense, or alternatively, are

listed to or commonly used by a person identified in the application. Id. § 2518(3). A

judge may require the government to furnish additional testimonial or documentary

evidence in support of the wiretapping application. Id. § 2518(2).

      Hunter seeks suppression of the evidence obtained from the wiretaps on Target

Phones 1-4 on four grounds. First, he contends that the government failed to establish

that the wiretap on Target Phone 1 was necessary. Second, he argues that the

government’s application for the wiretap on Target Phone 2 was not supported by

probable cause. Third, he asserts that the investigating agents failed to properly

minimize their interception of non-pertinent communications on all four wiretaps. Fourth

and finally, Hunter contends that the government’s applications for wiretaps on Target

Phones 1-4 contained knowingly or recklessly false statements or omissions regarding

the government’s minimization efforts and its use of certain confidential informants, in

violation of Franks v. Delaware, 438 U.S. 154 (1978).

1.    Necessity

      Hunter first argues that the government failed to establish the necessity of its

wiretaps on Target Phone 1. In his view, the government’s initial application ignored or

prematurely dismissed traditional investigative tools and failed to provide case-specific

facts regarding why a wiretap was necessary. Def.’s Opening Br. at 34-36. Hunter also

argues that the government’s application for an extension of the wiretap on Target



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Phone 1 was deficient because the government “had gathered sufficient evidence

through the first six months of normal investigative procedures” and again failed to

discuss the efficacy of these procedures with case-specific facts. Id. at 36-38.

     As noted above, Title III “requires the government, in its application for an

interception order, to provide ‘a full and complete statement as to whether or not other

investigative procedures have been tried and failed or why they reasonably appear to

be unlikely to succeed if tried or to be too dangerous.’” United States v. Fudge, 325

F.3d 910, 918 (7th Cir. 2003) (quoting 18 U.S.C. § 2518(1)(c)). Because section 2518

sets forth these factors in the alternative, the government need only establish one of

them. Id. at 919. This requirement, commonly referred to as the necessity

requirement, “was intended to ensure not that wiretaps are used only as a last resort in

an investigation, but that they ‘were not to be routinely employed as the initial step in

criminal investigation.’” United States v. Thompson, 944 F.2d 1331, 1340 (7th Cir.

1991) (quoting United States v. Giordano, 416 U.S. 505, 515 (1974)). The government

“need not demonstrate that prosecution would be impossible without it or that evidence

possibly sufficient for indictment could not conceivably be obtained through other

means.” United States v. McLee, 436 F.3d 751, 763 (7th Cir. 2006).

     The record refutes Hunter’s argument that the government ignored conventional

investigative techniques or used only boilerplate generalizations in seeking to intercept

calls on Target Phone 1. The government’s eighty-eight page affidavit in support of its

February 3, 2010 application contains extensive and specific information about the

course and fruits of the investigation up to that point. For example, the affidavit



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discusses, in great detail, investigative leads that the government obtained from five

confidential informants. These informants provided the government with extensive

information about the structure and operations of the New Breeds drug ring. See Def.’s

Opening Br., Ex. 1 at 22-32. The affidavit also contained specific details about several

controlled purchases (or attempted purchases) of drugs from suspected members of

the drug ring executed by undercover police officers in late 2009. Id. at 33-57. Further,

the government discussed evidence of drug activity garnered from telephone calls

made by Bostic from the Cook County Jail in late 2009 and obtained by the government

via a state grand jury subpoena. Id. at 58-64. Finally, the government recounted its

use of pen registers and trap-and-trace devices on Target Phone 1 in December 2009

and January 2010, which, in combination with other evidence, helped the government

identify patterns of communication between various suspects. Id. at 64-67. In short,

the government plainly did not resort to wiretaps as the “initial step” in its investigation

of the New Breeds drug ring. Thompson, 944 F.2d at 1340. It sought wiretaps only

after employing a variety of other investigatory tools.

     Nor did the government fail to adequately explain the limits of less intrusive

investigative methods in this case. The February 3, 2010 affidavit stated that although

physical surveillance had enabled the government to identify participants in the alleged

conspiracy, it did not reveal what the suspects were doing during their meetings. Def.’s

Opening Br., Ex. 1 at 68-70. Similarly, the government explained that pen register data

could not reveal details of the conspiracy’s operations, even though it helped draw

general links between suspects. Id. at 72-73. The government’s affidavit also



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contained a detailed discussion of the government’s inability to obtain incriminating

evidence against high-ranking members of the conspiracy using undercover operations

and informants or cooperating witnesses. Id. at 73-75. Hunter argues that the

government failed to provide specific facts regarding the utility of warranted searches or

suspect interviews, but the affidavit discussed particular gaps in the government’s

knowledge that made warranted searches unlikely to bear fruit in this case. See id. at

76-79. Though the government also relied on its affiant’s informed beliefs about the

efficacy of various investigative techniques, this does not render the affidavit deficient.

See United States v. Campos, 541 F.3d 735, 747 (7th Cir. 2008) (noting that such facts

“support the finding of necessity”); see also McLee, 436 F.3d at 763 (internal quotation

marks omitted) (courts review evidence of necessity “in a practical and common-sense

fashion”). Put simply, the government provided a great deal of specific information in

support of its contention that more intrusive surveillance was necessary.

     Hunter’s arguments also fail with respect to the government’s March 5, 2010

application for an extension of the Target Phone 1 wiretap. He argues that the

government “had gathered sufficient evidence with its initial wiretap” and provided little

or no new evidence in support of the extension. Def.’s Opening Br. at 36-37. In fact, as

the government’s extension affidavit states, the initial thirty-day wiretap had yielded

limited information regarding the heroin distribution activities of certain suspects, and

continued interception of calls likely would incriminate other individuals and provide

additional information regarding the drug ring’s operations, customers, and arms

dealers. See Def.’s Opening Br., Ex. 2 at 40-42. The Seventh Circuit has upheld



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necessity findings under similar circumstances. See, e.g., United States v. Long, 639

F.3d 293, 301 (7th Cir. 2011) (“[T]he fact that arrest could have occurred earlier does

not preclude a finding of necessity where, as here, the basis for necessity was a

demonstrated need to root out additional co-conspirators”); Fudge, 325 F.3d at 919

(rejecting argument that “evidence of a specific individual engaging in a criminal activity

obviates the need for” a wiretap, since “the government used the wiretap for a number

of reasons, not the least of which was to obtain more incriminating evidence. We do

not find such a basis problematic.”). Moreover, an extension affidavit is not deficient

merely because it relies in part on information from a previous affidavit; indeed, this is

likely inevitable in an ongoing investigation. See, e.g., United States v. Merton, 274 F.

Supp. 2d 1156, 1170 (D. Colo. 2003) (finding that extension affidavit containing some

new information satisfied section 2518(1)(c) even though it “contain[ed] much of the

same information from the original Affidavit”).

      In summary, the government did not ignore traditional investigative methods prior

to seeking an extension on this wiretap. To the contrary, it had already employed

several of these methods and thoroughly explained their limitations in its February 3,

2010 and March 5, 2010 applications for a wiretap on Target Phone 1. The Court

concludes that the government established the necessity of these wiretaps.

2.    Probable cause

      Next, Hunter argues that the government’s March 15, 2010 application for a

wiretap on Target Phone 2 was facially deficient with regard to probable cause because

“there was no evidence that Bostic was using Target Phone 2.” Def.’s Opening Br. at



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38. The government counters that the evidence in its application raised a reasonable

probability that Target Phone 2 was being used for criminal activity.

     Under Title III, a court may not enter an order authorizing a wiretap unless it finds

probable cause that an individual is committing, has committed, or is about to commit a

crime listed in 18 U.S.C. § 2516, such as a narcotics-related federal offense. 18 U.S.C.

§§ 2518(3)(a), 2516(e). The probable cause standard in this context is identical to that

applied under the Fourth Amendment. See, e.g., United States v. Leisure, 844 F.2d

1347, 1354 (8th Cir. 1988). Probable cause exists when “‘the known facts and

circumstances are sufficient to warrant a man of reasonable prudence in the belief that

contraband or evidence of a crime will be found.’” United States v. Aljabari, 626 F.3d

940, 944 (7th Cir. 2010) (quoting Ornelas v. United States, 517 U.S. 690, 696 (1996));

see also Illinois v. Gates, 462 U.S. 213, 238 (1983). This standard requires only “a

reasonable probability” that evidence of a crime will be found; “neither an absolute

certainty nor even a preponderance of the evidence is necessary.” Id. Rather, the

government’s affidavit “need only contain facts that, given the nature of the evidence

sought and the crime alleged, allow for a reasonable inference that there is a fair

probability that evidence will be found in a particular place.” Id.

     Hunter’s argument regarding Bostic’s use of Target Phone 2 is again undermined

by the record. The government’s March 15, 2010 affidavit provided details of several

telephone calls between Target Phone 1 and Bostic using Target Phone 2 that the

government intercepted in February 2010. See Def.’s Opening Br., Ex. 3 at 17-19.

One of these conversations included what appeared to be an exchange in coded



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language between Bostic and Richards regarding drug sales. See id. In short, the

government presented evidence that Bostic used Target Phone 2. Moreover, this

evidence raises a reasonable inference that, at least in early February 2010, Bostic did

so in furtherance of criminal activity.

     Hunter counters that this evidence became stale by the time the government

sought a wiretap on Target Phone 2 because other calls showed that Bostic was using

Target Phone 1 at various points after he used Target Phone 2. See Def.’s Reply Br. at

3-4. Hunter is correct that probable cause may cease to exist as time passes and

evidence becomes outdated. See, e.g., United States v. Grubbs, 547 U.S. 90, 96 n.2

(2006). At the same time, however, “the age of inculpatory information is only one

factor” in determining probable cause, and the “[p]assage of time is less critical when

the affidavit refers to facts that indicate ongoing continuous criminal activity.” United

States v. Spry, 190 F.3d 829, 836 (7th Cir. 1999) (internal quotation marks omitted).

The government’s March 15, 2010 affidavit included such facts: pen register and trap-

and-trace data indicated that Target Phone 2 was being used continuously well into

March 2010. See Def.’s Opening Br., Ex. 3 at 41 (noting a total of 3,604 calls made or

received using Target Phone 2 between February 4, 2010 and March 3, 2010). Further,

other evidence discussed in the affidavit suggested that various members of the alleged

conspiracy, including Hunter, Richards, Donnie Ackers, James Kirkendall, Maurice

Davis, Dandre London, and Aaron Bagley, were using phone numbers that appeared in

the call log for Target Phone 2. See id. at 41-47.

     The Court is unpersuaded by Hunter’s staleness argument in light of the evidence



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discussed above. The recorded calls of Bostic using Target Phone 2 were barely one

month old when the government presented its Target Phone 2 wiretap application to

Chief Judge Holderman, and Target Phone 2 contacted other members of the alleged

conspiracy well into March 2010. Considering these facts, as well as the totality of the

evidence in the March 15, 2010 affidavit, the Court finds that a person of reasonable

caution could conclude that Target Phone 2 was being used in furtherance of narcotics-

related criminal activity. It was also reasonable to believe that a wiretap on that

telephone would yield additional evidence of such criminal activity. Therefore, the

government’s application for a wiretap on Target Phone 2 was supported by probable

cause.

3.     Minimization

       Harrison also contends that suppression is appropriate because the government

violated Title III’s minimization requirements and “listened to all manner of personal

phone calls, of varying length, with little or no attempt to minimize calls.” Def.’s

Opening Br. at 40. The government responds that its agents’ efforts to minimize their

monitoring of non-pertinent calls on all four wiretaps were objectively reasonable.

       The government has a statutory obligation to “minimize the interception of

communications not otherwise subject to interception” under Title III. 18 U.S.C. §

2518(5). “What the minimization requirement means, essentially, is that once the

monitoring agent has had a reasonable opportunity to assess the nature of an

intercepted communication, he or she must stop monitoring that communication if it

does not appear relevant to the government’s investigation.” United States v. Mansoori,



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304 F.3d 635, 646 (7th Cir. 2002). The Court considers whether the government’s

minimization efforts were “objectively reasonable given the circumstances confronting

the agents.” Id. at 647. Relevant factors in this inquiry include (1) the kind and scope

of criminal enterprise at issue, (2) the thoroughness of the government’s efforts to limit

monitoring of non-pertinent calls, (3) the degree to which it was foreseeable that certain

types of calls would be innocent and therefore subject to minimization, (4) the targets’

use of coded language, and (5) the degree to which the issuing judge oversaw the

government’s interception efforts. Id. “The adequacy of the government’s minimization

efforts necessarily depends on the facts of each case.” Id.

     At least three of the Mansoori factors plainly weigh in favor of the government in

this case. First, the defendants were suspected of participating in a narcotics trafficking

conspiracy of undetermined scope. Indeed, one of the government’s chief arguments

in support of its initial application for a wiretap was that other investigative tools, such

as cooperating witnesses, were not enabling the government to identify all of the

members of the conspiracy, including drug suppliers. See, e.g., Def.’s Opening Br., Ex.

1 at 75-76; Mansoori, 304 F.3d at 647 (internal quotation marks omitted) (“Where an

investigation involves a drug ring of unknown proportion . . . the need to allow latitude to

eavesdroppers is close to its zenith”). Second, as alluded to above, the targets often

used coded language when speaking with each other, thereby complicating any effort to

discern the pertinence of a given conversation. See, e.g., Def.’s Opening Br., Ex. 1 at

50 (suspect used coded language when speaking with undercover officer). Third, the

government submitted ten-day progress reports to Chief Judge Holderman that



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summarized the government’s interception efforts with respect to Target Phones 1, 3,

and 4. See generally Exhibits to Pl.’s Resp. Br. Though the government does not

appear to have submitted such reports with respect to Target Phone 2, its other reports

reveal that there was at least some judicial oversight of the government’s wiretapping

efforts.

     The thoroughness of the government’s minimization efforts, however, presents a

more complex question. The government is correct that Hunter has identified a small

subset of calls that were, in his view, minimized improperly or not at all. The parties

also agree that a large proportion of the monitored calls were less than two minutes in

length and therefore did not have to be minimized. See Pl.’s Resp. Br. at 27-28; Def.’s

Reply Br. at 6; see also Mansoori, 304 F.3d at 647 (noting with approval that “[a]

number of other courts have found that two to three minutes is a reasonable period of

time within which to make an initial judgment as to the pertinence of a conversation”).

In his opening brief, Hunter provided charts containing details about each monitored

call that lasted longer than two minutes. See Def.’s Opening Br. at 11-16 (Target

Phone 1, initial); id. at 21 (Target Phone 1, extension); id. at 24-25 (Target Phone 2); id.

at 25-27 (Target Phone 3 through April 25, 2010); id. at 28-29 (Target Phone 4 from

April 15-25, 2010). As these charts indicate, Hunter concedes that the government

actually minimized many of the calls that were longer than two minutes.

     For ease of reference, the Court has attached its own chart summarizing those

calls which, in Hunter’s view, were either minimized improperly or not minimized at all.

See App. 1. As the chart reveals, a large proportion of these calls were not subject to



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minimization. First, many of the calls were roughly two or three minutes in length. See

generally id. This fact alone reduces significantly the amount of potential government

misconduct. Cf. United States v. Dumes, 313 F.3d 372, 380 (7th Cir. 2002) (citations

omitted) (noting that defendants’ framing of the government’s minimization efforts was

“not particularly helpful” because defendants “did not exclude shorter calls from their

analysis”). Additionally, Hunter’s notes regarding the calls listed on his charts strongly

suggest that many of them were appropriately subject to monitoring because they were

pertinent or contained no conversation. See App. 1. Finally in his reply brief, Hunter

concedes that based on a clerical error, “a handful of calls that Defense counsel

listened to and thought were not minimized may have actually been minimized.” Def.’s

Reply at 5 n.1. Though Hunter does not specify the calls to which he is referring, his

admission casts further doubt on the accuracy of his analysis of the government’s

minimization efforts.

     In sum, Hunter has identified approximately forty-four non-pertinent calls that were

subject to minimization but were not minimized properly or at all. See App. 1. Of these,

the government has offered a reasonable explanation (based, for example, on

pertinence, technical problems, or the absence of a conversation) for nineteen calls.

Id.; see also Pl.’s Resp. Br. at 30-44. That leaves roughly twenty-five unexplained, non-

minimized calls out of a universe of several thousand monitored wire communications.

     The Court is troubled by the government’s failure to provide an explanation for

these calls. Under the circumstances, however, the Court cannot conclude that the

government’s minimization efforts were objectively unreasonable. The government



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plainly made significant efforts to minimize and spot-check calls for pertinence, and in

an investigation involving the monitoring of several thousand telephone calls, some

mistakes are inevitable. Moreover, even if Hunter could show that the government

monitored certain calls unreasonably, he has not offered evidence that he was a party

to any such calls. As such, he does not have standing to seek suppression of evidence

derived from these calls. See Thompson, 944 F.2d at 1339 (noting that “[t]he

interception of calls to which [defendant] was not a party did not intrude upon [his]

[F]ourth [A]mendment rights . . . so he has no standing to seek suppression of evidence

gathered from those intercepts”); see also United States v. Vargas, 116 F.3d 195, 196

(7th Cir. 1997) (same).

     Hunter nevertheless argues that he has offered evidence showing a “clear pattern

of abuse” by the government that justifies suppression of all wiretap evidence. Def.’s

Reply Br. at 8-9. Considering the government’s actions as a whole and in light of the

nature of the criminal enterprise at issue and the evidence discussed above, the Court

disagrees. Although courts sometimes order total suppression upon a finding that the

government engaged in pervasive disregard of the minimization requirement, see

United States v. Goffer, 756 F. Supp. 2d 588, 588, 595-96 (S.D.N.Y. 2011), no pattern

of pervasive disregard appears to exist in this case. The government failed to minimize

only a relatively small number of calls that should have been subject to minimization. It

otherwise appears to have made a good-faith effort to comply with the requirements of

Title III. As such, this is not the “particularly horrendous case” in which the total

suppression of wiretap evidence would be justified. United States v. Charles, 213 F.3d

10, 22 (1st Cir. 2000) (internal quotation marks omitted). Therefore, Hunter is not

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entitled to suppression on the grounds that the government’s minimization efforts were

objectively unreasonable.

4.     Franks violations

       Finally, Hunter asserts that the government’s applications for wiretaps on Target

Phone 2, Target Phone 3, and Target Phone 4 “included demonstrably untrue sworn

statements . . . regarding minimization,” because there is “pervasive evidence that

government agents failed to minimize calls in any meaningful way.” Def.’s Opening Br.

at 40-41. He also argues that the government’s application for a wiretap on Target

Phone 1 contained a material omission regarding the government’s use of additional

confidential informants that distorted Chief Judge Holderman’s assessment of the

necessity of this wiretap. Id. at 41. The government argues that its affidavits contained

no material and knowingly or recklessly false misrepresentations or omissions.

       A defendant may seek the suppression of evidence obtained pursuit to a court

order that was issued based on a false or misleading affidavit. Specifically, “where the

defendant makes a substantial preliminary showing that a false statement knowingly

and intentionally, or with reckless regard for the truth, was included by the affiant in the

warrant affidavit, and if the allegedly false statement is necessary” to the issuing court’s

decision to authorize a search, the court must hold a hearing on the defendant’s

argument. Franks v. Delaware, 438 U.S. 154, 155-56 (1978). If, at the hearing, the

defendant can prove his allegation of perjury or reckless disregard by a preponderance

of the evidence and the court would not have issued its order without the affidavit’s

false material, the evidence obtained by way of the court’s order must be suppressed.



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See id. at 156. The rule from Franks applies to omissions as well as affirmatively false

statements. See United States v. Williams, 737 F.2d 594, 604 (7th Cir. 1984). An

omission is not material “if, in context, the information was of such minimal significance

that its omission could not reasonably have affected the magistrate’s judgment,” and

“[m]ere negligence by the affiant does not constitute reckless disregard for the truth.”

United States v. McNeese, 901 F.2d 585, 594 (7th Cir. 1990), overruled on other

grounds, United States v. Westmoreland, 240 F.3d 618, 632-33 (7th Cir. 2001).

     The Court concludes that Hunter has not met his preliminary burden under Franks

with respect to Target Phones 2-4. As discussed above, government agents made

objectively reasonable efforts to comply with Title III’s minimization requirement. As

such, a reasonable decision-maker could not find that the government’s affiant made a

materially false or misleading statement by asserting that “‘monitoring of conversations

will terminate immediately when it is determined that the conversation is unrelated to

communications subject to [interception].’” Def.’s Opening Br. at 40 (quoting id., Ex. 3

at 69). Moreover, as the government points out, Hunter has offered no evidence or

argument suggesting that the government’s affiant made this statement with intent to

mislead Chief Judge Holderman, or with reckless disregard for the fact that he might do

so. See Pl.’s Resp. Br. at 49. Hunter offers no response to this argument in his reply

brief. Because he has not made a substantial preliminary showing regarding the mental

state of the government’s affiant, Hunter cannot establish that he is entitled to a Franks

hearing.

       Additionally, and for two reasons, Hunter has not shown that he is entitled to a



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Franks hearing based on an omission regarding the government’s use of additional

confidential informants. First, Hunter is correct that the government’s affidavit in

support of its application for the Target Phone 1 wiretap did not mention two additional

informants who provided information about drug transactions between Bostic and

another defendant, Donnie Ackers. Based on the current record, however, the Court

cannot conclude that the information was significant enough that its inclusion would

have led a reasonable decision-maker to find that the requested wiretap was

unnecessary. Although these informants appear to have provided some information

about Bostic’s dealings with Ackers, the government sought a wiretap on Target Phone

1 for reasons beyond obtaining evidence against these two individuals. For example,

the Target 1 wiretap affidavit indicated that confidential informant testimony would be

unlikely to yield evidence against highly culpable individuals outside of the New Breeds

with whom Bostic had dealings, such as drug suppliers. See Def.’s Opening Br., Ex. 1

at 76. Moreover, the government’s subsequent application for a wiretap on Target

Phone 2 made clear that these two informants “have limited to non-existent

relationships with Bostic and Richards and non-existent relationships with other

members of the conspiracy” and therefore were “not able to furnish information that fully

identifies all members of the conspiracy and their respective roles, including the

source(s) of supply of narcotics to Bostic and his drug associates.” Def.’s Opening Br.,

Ex. 3 at 62-63. In the absence of countervailing evidence suggesting that the

information provided by these additional informants would have enabled the

government to achieve the broader goals of its investigation, the Court cannot conclude

that Hunter has met his preliminary burden under Franks.

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     Second and perhaps more importantly, even if the government’s omission was

material, Hunter has provided no evidence suggesting that the government’s affiant

omitted the information intentionally or with reckless disregard for the truth. Indeed, the

government informed Chief Judge Holderman about these two informants in its

subsequent application for a wiretap on Target Phone 2. See Def.’s Opening Br., Ex. 3

at 14-17. Particularly given the absence of any other evidence of fraudulent intent,

these facts suggest that the government’s failure to bring these two informants to Chief

Judge Holderman’s attention when it applied for the Target Phone 1 wiretap was, at

worst, negligent. Hunter is not entitled to a Franks hearing on this ground. See

McNeese, 901 F.2d at 594.

                                        Conclusion

     For the reasons stated above, the Court denies defendant’s motion to suppress

Title III materials [docket no. 312].



                                                  _______________________________
                                                       MATTHEW F. KENNELLY
                                                      United States District Judge

Date: September 15, 2011




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            Appendix 1: Purportedly Non-Minimized Calls that are Two Minutes or Greater in Length

                                     Summary Chart
      44             Approximate # of non-minimized/improperly minimized calls
      19         Number of calls from above that were adequately explained by gov't
      25        Total # of inexplicably non-minimized/improperly minimized calls


Wiretap     Call # Length Hunter's Notes                                    Length OK OK Based on Notes   Adequate Gov't Response Rem'ng
TP1 init.    40     2:13 Food order                                             Y
TP1 init.    89     6:35 Improperly minimized                                                Y
TP1 init.    600    2:41 Phone rang with no answer                              Y
TP1 init.   1173    4:33 Call from Cook County Jail                                                                                 X
TP1 init.   1174 11:46 Call from CCDOC                                                                                              X
TP1 init.   1304    2:02 Conversation re: soccer van, altercation                Y            Y
TP1 init.   1499    2:06 Random conversation                                     Y
TP1 init.   1866    5:52 Spot checked; discusses "two bags"                                   Y
TP1 init.   1996    2:37 No conversation                                         Y
TP1 init.   2121    2:25 Discussion of heroin                                    Y            Y
TP1 init.   2226    4:32 Discussion of money                                                                                        X
TP1 init.   2227    3:41 No conversation                                                      Y
TP1 init.   2599    3:23 Discussion of police, collecting things, etc.                        Y
TP1 init.   2665    2:02 Discussion of getting food                              Y
TP1 init.   2669    2:15 Possible discussion of heroin                           Y            Y
TP1 init.   2919    2:40 No conversation                                         Y            Y
TP1 init.   3405    2:03 Discussion of food                                      Y
TP1 init.   4205    3:16 No conversation                                                      Y
TP1 init.   4300    4:47 No conversation                                                      Y
TP1 init.   4396    2:00 No conversation                                                      Y
TP1 init.   4809    3:14 Talk about a possible gun; stabbing; etc.                            Y
TP1 init.   4826    2:05 Talk about person going to jail                                      Y
TP1 init.   5204    5:29 No conversation                                                                                            X
TP1 init.   5281    2:31 Discuss a shooting.                                                  Y
TP1 ext.    5444    2:44 No info                                                 Y
TP1 ext.    5607    2:11 Talking about dope                                      Y            Y
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TP1 ext.   5645    2:26   Giving directions to some place                    Y
TP1 ext.   5783    2:11   Directions again                                   Y
TP2         35     4:41   Improperly minimized                                                              Y
TP2         53     2:37   Conversation re: legalizing marijuana              Y      Y
TP2         62     7:20   Conversation about cards, dice                                                    Y
TP2         70     9:09   Conversation about gambling & a car                                                   X
TP2         84     3:05   Conversation about meeting up w/friends            Y
TP2        123    11:21   Improperly minimized                                                              Y
TP2        124    9:42    N/A                                                                               Y
TP2        139    4:51    Improperly minimized                                                              Y
TP2        185    2:40    N/A                                                Y
TP2        202    2:47    Marked pertinent by gov't, but unclear from tape   Y      Y
TP2        213    2:36    N/A                                                Y
TP2        252    2:04    Rental of an apartment                             Y
TP3        2371    6:49   Only minimized after first 6 minutes                                              Y
TP3        2522    2:30   N/A                                                Y
TP3        2621    2:09   N/A                                                Y
TP3        2625   18:59   Improperly minimized                                                                  X
TP3        2626    2:33   N/A                                                Y
TP3        2692    2:15   N/A                                                Y
TP3        2698   10:45   Family call                                                                       Y
TP3        2763   2:33    Weather                                            Y
TP3        2819    5:44   Improperly minimized                                                                  X
TP3        2820   12:03   Improperly minimized                                                                  X
TP3        3016    2:31   Market pertinent by gov't, discusses stolen car    Y      Y
TP3        3155    5:31   Improperly minimized                                                                  X
TP3        3253    2:30   Marked pertinent by gov't                          Y      Y
TP3        3367    2:47   N/A                                                Y




TP3        3402   3:55    Conversation about chuckee cheese                                                 Y
TP3        3403    3:20   No conversation                                           Y
TP3        3418   16:10   Improperly minimized                                                                  X
TP3        3430   4:18    No conversation                                           Y
TP3        3438   2:02    No conversation                                           Y
TP3        3441   2:51    No conversation                                           Y
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TP3   3453    5:42   Improperly minimized                                                                  X
TP3   3486    4:02   No conversation                                           Y
TP3   3492    3:30   N/A                                         Y
TP3   3515    2:30   N/A                                         Y
TP3   3517    9:44   Improperly minimized                                                                  X
TP3   3679    2:22   N/A                                         Y
TP3   3700    3:12   N/A                                         Y
TP3   3703    8:01   Improperly minimized                                                                  X
TP3   3767    4:27   No conversation                                           Y
TP3   3770    4:17   Gov't contends pertinent                                                              X
TP3   3777    2:23   N/A                                         Y
TP3   3778    2:15   N/A                                         Y
TP3   3881    2:39   N/A                                         Y
TP3   4021    3:03   N/A                                         Y
TP3   4034    3:50   N/A                                                                                   X
TP3   4038    2:31   N/A                                         Y
TP3   4153    2:09   Checking voicemail                          Y
TP3   4154    2:09   N/A                                         Y
TP3   4262    3:26   N/A                                         Y
TP3   4333    2:21   N/A                                         Y
TP3   4336    3:30   N/A                                         Y
TP3   4351   20:51   Personal call with female                                                         Y
TP3   4352    2:17   N/A                                         Y
TP3   4356    3:02   N/A                                         Y
TP3   4404    2:59   N/A                                         Y
TP3   4428    2:02   N/A                                         Y
TP3   4452   2:08    N/A                                         Y
TP3   4496   4:35    N/A                                                                               Y
TP3   4495   4:36    N/A                                                                               Y
TP3   4498   14:08   N/A                                                                                   X
TP3   4539    2:38   N/A                                         Y
TP3   4586    2:03   N/A                                         Y
TP3   4631    3:27   N/A                                         Y
TP3   4648    2:45   N/A                                         Y
TP3   4763    3:44   N/A                                                                                   X
TP3   4785    3:52   N/A                                                                                   X
TP4    34     4:34   N/A                                                                               Y
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TP4   36     8:26    N/A                                                                              Y
TP4   71     3:31    N/A                                        Y
TP4   126    2:05    N/A                                        Y
TP4   130    8:30    N/A                                                                              Y
TP4   131    2:58    N/A                                        Y
TP4   134    4:31    N/A                                                                              Y
TP4   141    2:31    N/A                                        Y
TP4   190    2:32    N/A                                        Y
TP4   192    2:07    N/A                                        Y
TP4   238    2:13    N/A                                        Y
TP4   239    3:36    N/A                                                                                  X
TP4   330    3:57    N/A                                                                                  X
TP4   343    2:29    N/A                                        Y

TP4   358     5:27   N/A                                                                              Y
TP4   361     2:40   N/A                                        Y
TP4   370    11:45   N/A                                                                              Y
TP4   379     2:45   N/A                                        Y
TP4   432    26:33   N/A                                                                              Y
TP4   440    5:36    N/A                                                                              Y
TP4   512    5:28    N/A                                                                                  X
TP4   613     2:07   N/A                                        Y
TP4   658     2:54   N/A                                        Y
TP4   663     2:38   N/A                                        Y
TP4   744     2:23   N/A                                        Y
TP4   820     2:51   N/A                                        Y
TP4   826     4:14   N/A                                                                                  X
TP4   861     2:21   N/A                                        Y
TP4   864     3:45   N/A                                        Y
TP4   878     2:33   N/A                                        Y
TP4   922     4:39   N/A                                                                                  X
TP4   926     4:16   N/A                                                                                  X
TP4   984     3:30   N/A                                        Y
TP4   1142    2:33   N/A                                        Y
TP4   1148    2:10   N/A                                        Y
TP4   1154    4:15   N/A                                                                                  X
